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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA
 U.S. Department of Justice
 Antitrust Division
 450 Fifth Street, NW, Suite 4100
 Washington, DC 20530,

 STATE OF MINNESOTA
 445 Minnesota Street, Suite 1400
 St. Paul, Minnesota 55101-2131,

 and

 STATE OF NEW YORK
 28 Liberty Street
 New York, NY 10005,


                            Plaintiffs,


                   v.


 UNITEDHEALTH GROUP INCORPORATED
 9900 Bren Road East
 Minnetonka, MN 55343,

 and

 CHANGE HEALTHCARE INC.
 3055 Lebanon Pike
 Nashville, TN 37214,


                         Defendants.


                                          COMPLAINT

       UnitedHealth Group (United), which owns the largest health insurer in the United States,

proposes to acquire Change Healthcare (Change), the leading source of key technologies that
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United’s health insurance rivals rely on to compete with United. By ensuring accuracy, avoiding

overpayments, and reducing administrative waste, Change’s technologies save United’s rivals

tens of billions of dollars each year and reduce healthcare costs for American families. Through

these technologies, Change also has access to vast amounts of competitively sensitive data about

United’s rivals—data that reveals how their plans are designed and how they calculate payments

to providers, for example—and holds “unfettered” rights to use much of this information. United

is keenly aware of Change’s data rights; its former CEO viewed acquisition of these rights as an

essential reason for the acquisition of Change. Indeed, United recognized that it could use this

data to extract intelligence about its health insurance rivals, despite acknowledging that this

would trigger “Payer and provider sensitivity and competitive concerns.” Tellingly, while United

has long coveted its rivals’ claims data, it has gone to great lengths to safeguard its own claims

data from competitors, recognizing that “someone specifically going out and getting all of that

information” on “how the plans work” is “not a good thing from a competitive standpoint.”

       Because Change’s products are so widely used, including by many healthcare providers,

United’s health insurance rivals would not be able to prevent their data from being routed

through Change post-transaction. Therefore, United’s proposed acquisition of Change, with its

rivals’ competitively sensitive data, would allow United to co-opt its rival insurers’ innovations

and their competitive strategies and reduce their incentives to pursue those innovations and

strategies in the first place. The proposed acquisition would also allow United to use its control

over Change’s technologies to disadvantage its health insurance rivals by raising their costs and

denying or delaying their access to innovations and quality improvements to products and

services supplied by Change.




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            Ultimately, this substantial lessening of competition would result in higher cost, lower

quality, and less innovative commercial health insurance for employers, employees, and their

families.

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                                    I.      INTRODUCTION

       1.      Health insurance helps protect American families from the financial risks

associated with sickness and injury. It also facilitates access to the U.S. healthcare system,

thereby improving health outcomes and affecting the lives of hundreds of millions of people

living in the United States. Each year, Americans visit a doctor or hospital more than one billion

times and spend more than four trillion dollars on healthcare—almost one-fifth of the U.S. gross

domestic product. Roughly 155 million people, or almost half of all Americans, get their health

insurance through an employer. Employers count on competition between health insurers to

provide affordable, high quality, and innovative health plans to meet the needs of employees and

their families. United’s proposed acquisition of Change threatens this competition.

       2.      United is a behemoth in the healthcare industry. A serial acquirer that has

purchased more than 35 healthcare companies over the last 10 years, United operates, among

other things: the largest health insurance company in the United States; a large network of

physician groups, outpatient surgical centers, and other healthcare providers, including over

53,000 physicians across 15 states; a pharmacy benefit manager (PBM) that handles over a

billion prescriptions every year; and a healthcare technology business that facilitates, among

other things, the transmission, analysis, and review of health insurance claims.

       3.      Change is the leading independent supplier of technologies used by healthcare

providers to submit health insurance claims, and by health insurance companies to evaluate and

process these claims. It is not owned by any healthcare provider or health insurer. Change

operates the nation’s largest electronic data interchange (EDI) clearinghouse, which transmits

data between healthcare providers and insurers, allowing them to exchange insurance claims,

remittances, and other healthcare-related transactions. The claims and remittances are referred to




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as “claims data.” The claims data shows, among other things, the treatment an individual

receives and the insurance coverage that they have, and provides a window into the inner

workings of the health insurers and their plans. Change also sells a license to its separate state-

of-the-art claims editing technology that enables health insurers to process, in real time, millions

of healthcare claims each day to ensure compliance with their health insurance policies.

       4.      Nearly all of United’s major health insurance rivals rely on Change’s EDI

clearinghouse and claims editing technology to compete with United’s commanding health

insurance business, and they have leveraged these tools to save billions of dollars each year.

Change’s technologies are critical tools that allow United’s health insurance rivals to keep

healthcare costs down for their members and pay providers’ claims quickly so they can compete

more effectively with United and one another for health insurance customers.

       5.      Change is the leading independent provider of technology used to transmit and

review health insurance claims. As Change told analysts in 2019 “the SCALE, size,

and independence of our business is a competitive advantage.” It has access to a vast trove of

competitively sensitive claims data that flows through its EDI clearinghouse—over a decade’s

worth of historic data as well as billions of new claims each year. According to United, 50

percent of all medical claims in the United States pass through Change’s EDI clearinghouse.

Change’s self-described “pervasive network connectivity,” including approximately “900,000

physicians, 118,000 dentists, 33,000 pharmacies, 5,500 hospitals and 600 laboratories,” means

that even when United’s health insurer rivals choose not to be a Change customer, health insurers

have no choice but to have their claims data pass through Change’s EDI clearinghouse. Not only

does Change process vast amounts of competitively sensitive claims data, but it also has secured

“unfettered” rights to use over 60 percent of this data for its own business purposes including, for




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example, using claims data for healthcare analytics. Additionally, through its claims editing

product, Change has access to the proprietary plan and payment rules for all of United’s most

significant health insurance competitors.

       6.      Change has access to claims data and health insurers’ proprietary plan and

payment rules. Health insurers consider this information to be competitively sensitive. This data

is especially valuable because it can be used to understand how an insurer designs its plans for

particular employers, and glean insights into the plans’ payment and operational rules.

       7.      United operates its own EDI clearinghouse and offers a competing claims editing

technology through OptumInsight, its healthcare technology business. But United’s major rival

health insurers rely on Change for its innovative, high-quality products, including claims editing

technology and EDI clearinghouse, avoiding United’s claims editing and clearinghouse products

to protect their competitively sensitive data from their largest rival. United is well aware of its

rivals’ reluctance to use United’s EDI clearinghouse and claims editing products. OptumInsight

euphemistically refers to this reluctance as the “‘U’-factor,”—a reference to United’s insurance

business. An internal strategy document discussing the competitive perception of OptumInsight’s

claims editor put it bluntly: “health plans don’t typically want to go with Optum because Optum

is a competitor.”

       8.      United, for its part, actively avoids placing its own competitively sensitive claims

data in the hands of its actual or potential health insurance competitors. United requires its

business units to limit the disclosure of data outside of United “to the minimum necessary.” And

its internal policies reflect the competitive importance of claims data to UnitedHealthcare

(United’s health insurance business) and to the commercial health insurance industry generally.

For example, United will not permit its business units to license claims data to a third-party




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unless it is justified “as being in the best interests of the Enterprise [United] (taking into account

all business segments).” United also restricts data licenses to third-parties if they are “primarily

for the benefit of a significant competitor.” United implements these policies to protect its

financial interests.

        9.      Although it carefully safeguards its own claims data, United covets its rivals’

claims data and has long sought to acquire Change for this reason. United executives repeatedly

expressed in ordinary course business documents that a purchase of Change was motivated by

the desire to acquire Change’s access to claims data. For example, in evaluating whether to

acquire Change, the “primary question” from United’s then-CEO concerned Change’s “data

rights.” He viewed Change’s rights to proprietary claims data as “the foundation” to the business

case for acquiring Change. United’s consultants from McKinsey & Company (McKinsey)

confirmed Change’s extensive rights to claims data, reporting that Change “connects to over

70% of all payers, providers, pharmacies, and physician organizations”; it enjoys the “broadest

and deepest datasets in several categories”; and it “has unrestricted access under HIPAA

guidelines.” McKinsey also pointed to Change’s “High volume of claims,” “Breadth across

multiple networks,” and “Direct customer contracts” as particularly advantageous.

        10.     United saw similar advantages to acquiring Change’s claims editing technology.

An early United analysis of the deal shows that it understood that by acquiring Change it would

gain access to the proprietary plan and payment rules of rival health insurers, specifically the

“claim edits of a large number of non-UHC payers (Humana, Anthem, Aetna, Cigna, Blues).”

        11.     United’s proposed $13 billion acquisition of Change would fundamentally alter

the health insurance industry, reducing its competitiveness. Unless enjoined, the proposed

transaction would give United access to and control of sensitive business information about its




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health insurance rivals. In particular, United would gain unprecedented access to a vast trove of

its health insurance rivals’ competitively sensitive claims data through Change’s secondary-use

rights, something United wants but has not attained previously. By acquiring Change, United

will have the ability to diminish competition in the health insurance industry by applying

machine learning to rival insurers’ claims data, stealing rival insurers’ best ideas, and reducing

its rivals’ incentives to innovate, among other things. Such competitive harm, including harm to

innovation, reduces the American public’s access to high-quality, affordable health insurance

plans that meet their healthcare needs.

       12.      Post-transaction, United also would have a strong incentive to use this data to

weaken its health insurance rivals’ competitiveness. The competitive insights that United would

obtain by acquiring Change would allow United to slow its rivals’ innovations, reverse-engineer

its rivals’ proprietary plan and payment rules, preempt their competitive strategies, and compete

less vigorously for certain customers by understanding which employer groups pose more risk

and have higher costs of treatment. This course would prove profitable to United while harming

competition.

       13.      United’s own deal documents validate these concerns. For example, in conducting

due diligence on the deal for United, McKinsey concluded that United could “Utilize

transactions intelligence (i.e., clinical utilization) from multiple [healthcare] providers / payers to

optimize benefit design” for its own health insurance business. In later documents, United’s deal

team reiterated this point and observed that United could use Change’s “multipayer claims data

to track procedure pricing,” acknowledging the antitrust risk with this opportunity by stating that

United would likely need to “closely assess antitrust concerns on use/sharing of pricing

information.”




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       14.     United’s proposed acquisition of Change also would allow United to use its

control over Change’s technologies to disadvantage its health insurance rivals by raising their

costs and reducing or withholding quality improvements and innovations from rivals that rely on

Change’s technologies. For example, Change sees potential value to incorporating certain claims

editing functionality into its EDI clearinghouse. If United acquires Change, it would have a

powerful incentive to deny such innovations to its health insurance rivals, depriving them of

Change’s technologies, as part of a strategy to disadvantage its health insurance rivals and

expand its already large base of health insurance customers. Even modest increases in the

number of customers, or members, have big implications for a health insurer’s profitability.

According to United, gaining 100,000 new health plan enrollees means tens of millions of dollars

in profits for United. For these reasons, this transaction violates Section 7 of the Clayton Act

because it may likely substantially lessen competition in the market for the sale of commercial

health insurance to national accounts and large group employers.

       15.     United’s proposed acquisition of Change also would eliminate significant head-

to-head competition between United and Change to supply first-pass claims editing solutions,

which are software and services health insurers use to help adjudicate claims. Today, United and

Change compete to supply first-pass claims editing solutions to health insurers. As the United

pricing team explained, “[Change] is our big competitor for this product. We have been

approving 20%-25% discounts consistently when [Change] is in the mix.” But United’s proposed

acquisition of Change would give United over 75 percent share of the market for first-pass

claims editing solutions and eliminate this competition, leaving insurers at the mercy of a

vertically integrated monopolist that has every incentive to raise prices and reduce quality and




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innovation. This transaction violates Section 7 of the Clayton Act because it tends to create a

monopoly in the market for the sale of first-pass claims editing solutions.

       16.     In sum, by placing Change’s EDI clearinghouse and first-pass claims editing

tools, including the accompanying competitively sensitive data, in United’s hands, United’s

acquisition of Change is likely to substantially lessen competition in the markets for commercial

health insurance and claims editing solutions. The proposed acquisition threatens to reduce

competition among U.S. commercial health insurers, thereby harming health insurance

customers (employers) and their individual members, all of whom rely on competition between

United and its rivals to keep healthcare affordable. For the reasons set forth below, United’s

proposed acquisition of Change is unlawful and must be stopped.

             II.     DEFENDANTS AND THE PROPOSED TRANSACTION

       UnitedHealth Group and its Subsidiaries

       17.     United is one of the ten largest companies by revenue in the United States. Today,

United is a vertically integrated healthcare enterprise with a portfolio of wholly owned

subsidiaries comprising a massive healthcare ecosystem. These subsidiaries include, but are not

limited to: (a) the largest U.S. health insurer, UnitedHealthcare; (b) one of the largest PBMs,

OptumRx; (c) a significant provider network, Optum Health; and (d) an advanced healthcare

technology business, OptumInsight. United generated $288 billion in revenue in 2021. It is

headquartered in Minnetonka, Minnesota and incorporated under Delaware law.

       18.     UnitedHealthcare is the largest commercial health insurer in the United States. It

provides health insurance to employers in all 50 states and the District of Columbia. In 2021,

UnitedHealthcare recorded $223 billion in revenue. That same year, UnitedHealthcare’s national




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accounts and large group employer commercial health insurance plans had about 23 million

members and generated an estimated $31 billion in revenue.

       19.     United’s OptumRx subsidiary markets itself as “one of the three largest

participants in the pharmacy benefit management (PBM) sector.” In 2021, it filled 1.4 billion

prescriptions. In 2021, OptumRx generated $91 billion in revenue.

       20.     United’s Optum Health subsidiary employs or manages healthcare providers,

mostly focused on primary care. Optum Health’s network included 53,000 providers serving

over 19 million individuals in 2021, and it continues to grow through the acquisition of physician

groups. In 2021, Optum Health generated approximately $54 billion in revenue.

       21.     United’s OptumInsight subsidiary provides healthcare analytics, technology, and

services. OptumInsight supplies many of UnitedHealthcare’s healthcare technology needs. In

2021, OptumInsight generated $12 billion in revenue, the majority of which was from products

and services sold to UnitedHealthcare.

       22.     United’s OptumInsight subsidiary sells a first-pass claims editing solution called

Claims Edit System (CES) that is used by UnitedHealthcare as well as some small and midsize

insurers. United’s major health insurance competitors in the markets for large group employers

and national accounts generally do not use CES, because they do not want to expose their

proprietary plan and payment rules to a United-owned company. OptumInsight also has an EDI

clearinghouse that primarily processes insurance claims and other transactions for

UnitedHealthcare. OptumInsight’s EDI clearinghouse is UnitedHealthcare’s managed gateway,

meaning it is the exclusive EDI clearinghouse through which UnitedHealthcare accepts claims.




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       Change Healthcare

       23.     Change is a leading independent healthcare technology company. It provides

healthcare analytics, software, services, and data to providers, insurers, and other software and

services firms in the healthcare industry. Change markets itself as a valuable partner for insurers,

working together “hand-in-glove” to innovate and problem-solve. In a 2021 filing with the

Securities and Exchange Commission, Change stated that it provides “collaborative benefits of a

mission-critical partner to the healthcare industry” and offers a “consistent track record of

innovation.” In 2021, Change generated $3.4 billion in revenue. Change is headquartered in

Nashville, Tennessee and incorporated under Delaware law.

       24.     Change sells the market-leading first-pass claims editing solution, called

ClaimsXten. Health insurers have realized a collective $12 billion in savings per year from using

ClaimsXten.

       25.     Change also operates the nation’s largest EDI clearinghouse, which connects

approximately 5,500 hospitals, 900,000 physicians, and 2,400 government and commercial

health insurers. Change’s internal business documents recognize that it “offers the largest

medical EDI network in the U.S.” and that “over two-thirds of transactions are managed by our

clearinghouse solutions.” In light of its vital technology, Change has concluded that the

“healthcare system, and how payers and providers interact and transact, would not work without

Change Healthcare.” Change captures the claims data that flows through its EDI clearinghouse,

and maintains data going back to 2012 representing 211 million unique patients covered by many

different health insurers.




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       The Proposed Transaction

       26.     United has considered an acquisition of Change for many years. As early as 2015,

United recognized that “All Paths Lead to [Change].” On January 5, 2021, United agreed to

acquire Change for approximately $13 billion (the Proposed Transaction). At the same time as

they agreed to the Proposed Transaction, United and Change entered into a side agreement,

requiring United to immediately increase its purchases of products and services from Change,

ensuring that even if this transaction fails to proceed, United will pay Change approximately $60

million more per year than it did before the agreement was signed.

                                    III.   BACKGROUND

       A.      Commercial Health Insurance

       27.        Most Americans obtain commercial health insurance from their employers,

which contract with health insurers to offer health insurance plans to their employees.

Employees, and their covered spouses and dependents, that receive health insurance through an

insurer’s plan are called the health insurer’s members.

       28.        Health insurers routinely categorize employer-customers based on the

employer’s number of employees. In the vast majority of U.S. states, “large group” insurance is

health insurance that is sold to employers with more than 50 employees (under the laws of four

states, the threshold for large group insurance is employers with more than 100 employees).

Within large group employers, insurers recognize a subset of the largest employers, those with

employees spread across more than one state, as “national accounts.”

       29.     When selling commercial health insurance to national accounts and large group

employers, health insurers compete on many factors, such as price, cost containment, claims

adjudication (including claims editing and processing speed), clinical programs, customer

service, care management, wellness programs, and reputation. Insurers also compete on the


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breadth and quality of their network of healthcare providers, including doctors and hospitals,

because most people seek medical care close to where they live or work.

       30.     UnitedHealthcare is the nation’s largest commercial health insurer. It has the

largest market share among national accounts, covering approximately one out of every five

Americans insured through a national accounts employer. It is also one of the largest health

insurers serving large group employers in many local markets throughout the United States.

       B.      Overview of Claims Submission and EDI Clearinghouses

               1.      Claims Data and EDI Clearinghouses

       31.     EDI clearinghouses enable providers and health insurers to transmit claims data

electronically. EDI clearinghouses are sometimes described as the data “pipes” that connect

providers and insurers.

       32.     Claims processing typically involves a series of data transmissions between

providers and health insurers. When an insured individual goes to a healthcare provider to

receive care, the provider will generally first confirm the individual’s health insurance coverage

by sending an eligibility inquiry to the insurer. Once the insurer verifies the individual’s

insurance policy, the provider treats the individual (the patient) and then submits a medical claim

to the insurer to receive payment. The claim contains information about the treatment, including

the facility where the patient was treated, the patient’s diagnosis, the services provided, and the

provider’s charge for the service.

       33.     Upon receipt, the health insurer “adjudicates the claim” and determines what

services are covered by applying its claims editing process. The claims editing process uses

software to review the claim against the provider’s contract with the insurer, clinical guidelines,

and the patient’s health plan policies to determine whether to accept the claim. If the health




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insurer accepts the claim, it determines the amount it will pay and sends the provider a

remittance.

       34.      Each of the foregoing transactions is typically transmitted via an EDI

clearinghouse, as depicted below:




       35.      Historically, providers and health insurers used paper claims, faxes, and phone

calls to communicate about eligibility, claims, and remittances. This approach was time

consuming, error prone, labor intensive, and costly. Large national health insurers receive

millions of claims every day, making it infeasible for most insurers to rely on paper claims

submissions.

       36.      EDI clearinghouses eliminate the high costs and delays of paper claims and

telephone calls. They significantly reduce the time it takes health insurers to receive claims and


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send remittances, leading to faster reimbursement for providers. Today, over 95 percent of all

medical claims are transmitted electronically through EDI clearinghouses.

       37.     Healthcare providers often use a single EDI clearinghouse that is integrated with

the provider’s other software, such as claims management, billing, or electronic health records

software. Providers want their claims to be transmitted quickly and accurately to health insurers.

A provider can sometimes connect directly to an insurer, without using an EDI clearinghouse.

Because most providers submit claims to multiple insurers, however, establishing a direct

connection with each insurer is less efficient and imposes more administrative burden than using

a single EDI clearinghouse to submit claims to all insurers.

       38.     Some health insurers use a single clearinghouse as a “managed gateway” that

serves as the exclusive access point through which all of an insurer’s claims data must pass.

Other insurers establish relationships with multiple EDI clearinghouses. Health insurers want

their EDI clearinghouse(s) to transmit data in a cost-effective manner and to give providers a

quick and seamless exchange of claims data.

       39.     When a provider’s EDI clearinghouse is not directly connected with a patient’s

health insurer, claims data must flow through more than one EDI clearinghouse. The industry




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calls this transmission between clearinghouses a “hop.” United depicted how hops occur, and the

difficulties of disintermediating Change’s EDI clearinghouse, in an internal document:




       40.     Each EDI clearinghouse through which claims data passes has access to all of the

information contained in the claims data. To use that data, a clearinghouse must have

“secondary-use” data rights. A clearinghouse can obtain secondary-use rights from either the

health insurer or provider. The data can then be analyzed to learn about an insurer’s plan and

policy design, the costs of claims it pays, its provider network, and its proprietary payment rules.

               2.      Change’s EDI Clearinghouse Has Unmatched Breadth, Providing a Vital
                       Avenue for Transmission of Health Insurers’ Claims and Claims Data to
                       Providers

       41.     Change operates the largest EDI clearinghouse in the nation, transmitting over 14

billion total transactions (medical and other) through its EDI clearinghouse every year.

According to United, over 50 percent of U.S. medical claims pass through (or touch) Change’s

EDI clearinghouse, making it a vital link between providers and insurers. In 2019, Change told

potential investors that the “Change Healthcare network is by far the broadest and deepest

network in the country.” In that same presentation, Change explained that it achieves “flywheel

effects” through its scale and data, creating compounding value.



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       42.     Change’s EDI clearinghouse is thought to be used by more providers than any

rival clearinghouse. Thus, even if a health insurer does not have a direct connection to Change’s

EDI clearinghouse, a significant portion of that insurer’s claims and claims data will “hop” to

Change’s EDI clearinghouse because of Change’s extensive provider connections.

       43.     As an independent EDI clearinghouse that is not owned by a health insurer,

Change works closely with its health insurer customers to improve healthcare technology and

reduce costs. For example, Change is developing a tool that would give providers faster

confirmation of claim acceptance. Providers would be paid faster, and health insurers would

spend fewer resources and adjudicate claims more quickly. Health insurers are projected to

realize significant additional savings by implementing this tool. Change also has a “Strategic

Advisory Council” that maintains its close relationships with its insurer customers. But for the

Proposed Transaction, Change would continue to have strong incentives to develop innovations

that benefit its provider and health insurer customers alike, and the healthcare system more

broadly.

               3.    Change’s Broad Data Repository and Data Rights Are at the Heart of the
                     Proposed Transaction

       44.     Change sees and collects the claims data that flows through its EDI clearinghouse.

Change has accumulated a massive data set of claims data, unique in its breadth, going back to

2012. Its data set includes claims data from virtually all of UnitedHealthcare’s most significant

rivals and is growing rapidly. In 2019, for example, Change’s executives told their board that

three billion new claims are added each year. As United has recognized, Change “maintains the

highest volume of claims and penetration across EDI companies” and its access to United’s

health insurance rivals’ data “differentiates” Change from United.




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       45.     Change also has secured from providers and health insurers the right to use much

of this claims data for its own business purposes, provided that certain personally identifiable

information has been removed. The claims data that flows through Change’s clearinghouse

includes competitively sensitive information about health insurers’ plans and policies.

       46.     United’s desire to acquire this wealth of claims data from Change was a driving

motivation for the Proposed Transaction. In the period leading up to the acquisition, United

executives repeatedly expressed in ordinary course business documents that the Change purchase

was motivated by the desire to acquire Change’s rights to claims data. United’s due diligence led

it to conclude that Change had secondary-use rights to over 60 percent of the claims data that

passes through its EDI clearinghouse.

       47.     While United desires claims data from its rivals, it closely guards its own claims

data to ensure that competitors cannot gain access. United requires its business units to limit the

disclosure of data outside of United “to the minimum necessary” and restricts data licenses to

third parties if the licenses primarily benefit a significant competitor. Indeed, OptumInsight’s

CEO testified that OptumInsight would continue its policy of licensing UnitedHealthcare’s

claims data only to non-competitors, such as pharmaceutical companies. United’s internal

policies reflect the competitive importance of data to UnitedHealthcare and to the commercial

health insurance industry generally.

               4.   United Operates Its Own EDI Clearinghouse Primarily for Its Own Use

       48.     United owns an EDI clearinghouse through its OptumInsight subsidiary. This EDI

clearinghouse serves as the managed gateway for all incoming claims to UnitedHealthcare.

       49.     Until 2020, United marketed its EDI clearinghouse to healthcare providers and

health insurers. Today, however, United claims that it no longer markets its EDI clearinghouse

services to non-United providers, and only provides services to a handful of legacy health


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insurers in addition to UnitedHealthcare itself. Instead, United’s EDI clearinghouse routes most

non-UnitedHealthcare claims to the second-largest EDI clearinghouse after Change.

       C.      Overview of Claims Editing Solutions

               1.      Claims Editing Technology

       50.     After a provider sends a claim to a health insurer, the insurer must review the

claim for errors and determine whether and how much to pay the provider for the healthcare

service rendered to the patient. Large health insurers receive millions of healthcare claims each

day, so they must quickly determine whether the claim should be paid under the health plan’s

terms. Health insurers’ overriding goal is to ensure that claims are paid accurately (according to

the plan’s policies) and promptly. By ensuring that claims are paid accurately, insurers protect

their members from overpaying and reduce administrative costs for processing claims. Health

insurers also seek to reduce overall medical costs, while avoiding erroneously rejecting claims or

delaying payment so as to not frustrate providers and members.

       51.     In an effort to meet these goals, most health insurers purchase a claims editing

solution from a third-party vendor. Claims editing solutions comb through each insurer’s

numerous rules, or “edits,” to apply the relevant rules and automatically evaluate claims for

errors. This software, for example, could apply edits to deny a claim for an individual lab test

code when the test is part of a bundled lab panel on the same claim. Health insurers determine

which edits to apply, including some edits that the insurer develops on its own and others

developed in collaboration with a claims editing solution vendor, such as Change.

       52.     When healthcare claims are adjudicated, they first go through primary, or “first-

pass,” editing. Health insurers rely on first-pass claims editing solutions to review every claim

received.




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       53.     Claims are processed in real time during the first-pass claims editing phase, i.e.,

the claim is immediately sent to the claims editing solution and is processed within milliseconds.

This first-pass claims editing solution determines whether claims should be paid, rejected, or

flagged for further review.

       54.     Once the first-pass claims editing solution reviews a claim, some claims go

through a “second-pass” claims editing solution to find issues that may not have been identified.

Unlike first-pass claims editing, second-pass claims editing does not typically occur in real time

and is only applied to a subset of claims.

       55.     Health insurers prefer to edit claims as early as possible in the review process.

Denying a claim that is not covered by the plan prior to payment is generally less costly than

trying to recover money from a provider after the claim has already been paid. First-pass claims

editing solutions are particularly important to large health insurers, which need high-speed

claims editing solutions that can process millions of claims a day in real time. First-pass claims

editing solutions save patients and health insurers billions of dollars each year by reducing costs

and preventing overpayment, which makes healthcare more affordable for Americans than it

would be otherwise.

       56.     First-pass claims editing solutions vendors often develop long-term relationships

with health insurers, working together to create custom edits that are tailored to each health

insurer’s plans, policies, operating rules, and provider contracts. This extensive customization

and strong collaboration create greater savings for the health insurer but also make switching

claims editing solutions time consuming, costly, and disruptive to the insurer’s business.




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       57.     Health insurers must update their claims editing rules frequently to stay current

with changing regulatory and compliance guidelines, evolving treatment protocols, and their own

changing health plan policies.

       58.     Health insurers develop their own proprietary custom edits, and custom edits are a

dimension of competition among insurers. Effective edits reduce medical and administrative

costs to the health insurer and increase provider and member satisfaction by ensuring appropriate

medical treatment while also processing claims quickly and accurately. Prior to implementing a

particular edit in the claims adjudication process, an insurer must determine whether the benefits

(e.g., reduction of medical or administrative costs) will outweigh any risks (e.g., making the

health insurer less attractive to providers and members, both of which could switch to a

competing insurer).

       59.     A health insurer’s edits provide important insight into how the insurer adjudicates

its claims. The information contained in claims edits—such as health plan policies and

methodologies for calculating reimbursements—is very competitively sensitive. Claims edits are

one means by which insurers differentiate themselves from their competitors.

               2.     Change and United Are the Top Two Vendors of First-Pass Claims
                      Editing Solutions

       60.     Change is the top vendor of first-pass claims editing solutions, with a market

share of over 50 percent. Change is viewed as the “gold standard, market-leading solution” for

claims editing, and its ClaimsXten product is used by nine of the top ten health insurers—all but

UnitedHealthcare. In 2020, Change reported that its first-pass claims editing solution saved its

health insurer customers $10–$15 billion per year.

       61.     United’s CES product is Change’s most significant competitor in first-pass claims

editing, with a market share of over 25 percent.



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       62.     Change’s and United’s first-pass claims editing solutions collectively serve 38 of

the top 40 health insurers in the country. If allowed to merge, they would have a combined

market share of at least 75 percent.

       63.     Change’s independence stands in contrast to United. United’s largest health

insurer rivals do not purchase claims editing solutions from United because they do not want to

share their edits, which embody their proprietary plan and payment rules, with a competitor.

Internally, United refers to its health insurer rivals’ desire to avoid buying products from United

as the “U-Factor.” Before the Proposed Transaction, health insurers could avoid United by

buying Change’s first-pass claims editing solution. If this transaction is allowed to proceed, this

alternative will vanish, and United’s health insurance rivals would have no choice but to use a

United-owned first-pass claims editing solution.

                                IV.     RELEVANT MARKETS

       A.      The Sale of First-Pass Claims Editing Solutions in the United States Is a
               Relevant Market

       64.     United and Change compete for the sale of first-pass claims editing solutions in

the United States.

               1.      The Sale of First-Pass Claims Editing Solutions is a Relevant Product
                       Market

       65.     The sale of first-pass claims editing solutions is a relevant product market under

Section 7 of the Clayton Act.

       66.     First-pass claims editing solutions, which include the first-pass claims editing

software as well as the associated services, apply real time edits (i.e., rules) early in the claims

review process. There are no reasonable alternatives to first-pass claims editing solutions.

       67.     First-pass claims editing solutions are distinct products from second-pass claims

editing solutions. First-pass claims editing solutions quickly process a high volume of claims in


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real time using each health insurer’s full library of edits, whereas second-pass claims editing

solutions typically involve a narrower set of edits applied to a subset of claims and cannot

process in real time.

       68.      Vendors, such as United and Change, and their health insurer-customers

distinguish between first- and second-pass claims editing solutions in the ordinary course of

business.

       69.      The sale of first-pass claims editing solutions satisfies the well-accepted

“hypothetical monopolist” test set forth in the Department of Justice and Federal Trade

Commission’s Horizontal Merger Guidelines (“Horizontal Guidelines”). A hypothetical

monopolist selling first-pass claims editing solutions would likely impose a small but significant

and non-transitory price increase without losing sufficient sales to render that price increase

unprofitable.

                2.      The United States Is the Relevant Geographic Market for the Sale of First-
                        Pass Claims Editing Solutions

       70.      The United States is the relevant geographic market for the sale of first-pass

claims editing solutions under Section 7 of the Clayton Act. A hypothetical monopolist of first-

pass claims edit solutions in the United States could profitably impose a small but significant and

non-transitory increase in price. Such a price increase would not be defeated by substitution

away from first-pass claims editing solutions in the United States or by arbitrage, for example,

by purchasing first-pass claims editing solutions outside of the United States. Thus, this

geographic market satisfies the hypothetical monopolist test.

       B.       The Sale of Commercial Health Insurance to National Accounts in the United
                States Is a Relevant Market

       71.      UnitedHealthcare competes in the sale of commercial health insurance to national

accounts throughout the United States.


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               1.    The Sale of Commercial Health Insurance to National Accounts Is a
                     Relevant Product Market

       72.     The sale of commercial health insurance to national accounts is a relevant product

market under Section 7 of the Clayton Act.

       73.     National accounts are distinct customers with unique characteristics. They

typically require a provider network covering multiple states, undertake a lengthy procurement

process that involves requests for proposals to select health insurance plans, hire large consulting

firms to aid in evaluating and selecting an insurer or insurers, and want flexible and customized

benefit designs. UnitedHealthcare and other insurers have dedicated business units focused on

selling and marketing to national accounts. UnitedHealthcare also maintains separate profit and

loss statements for national accounts. UnitedHealthcare charges different prices and offers

different plan benefits for national accounts than it does for other types of commercial health

insurance customers.

       74.     The sale of commercial health insurance to national accounts satisfies the well-

accepted “hypothetical monopolist” test. Under the Horizontal Guidelines, relevant markets may

be defined around a group of customers that could be profitably targeted for price increases.

Because health insurance is a significant employment benefit, a hypothetical monopolist of

commercial health insurance sold to national accounts would likely impose a small but

significant and non-transitory price increase without losing sufficient sales to render that price

increase unprofitable. In response to the price increase, few national accounts would stop buying

commercial health insurance for their employees. Similarly, few national accounts would self-

supply insurance and build their own provider networks by contracting directly with doctors and

hospitals and processing all of their employees’ healthcare claims themselves. Because arbitrage




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(the reselling of a product from one customer to another) is impossible, national accounts could

not avoid a price increase by buying health insurance from other employers.

               2.     The United States Is a Relevant Geographic Market for the Sale of
                      Commercial Health Insurance to National Accounts

       75.     The United States is a relevant geographic market under Section 7 of the Clayton

Act for the sale of commercial health insurance to national accounts. National accounts

headquartered in the United States seek health insurers with nationwide provider networks and

have similar nationwide insurer options.

       76.     This geographic market satisfies the hypothetical monopolist test, as national

accounts headquartered in the United States do not have reasonable substitutes to purchasing

commercial health insurance from insurers doing business in this country. National accounts

would not close their offices and move their companies to different countries in response to a

small but significant and non-transitory increase in the price of commercial health insurance.

       C.      The Sale of Commercial Health Insurance to Large Group Employers in
               Various Local Markets Is a Relevant Market

       77.     UnitedHealthcare competes in the sale of commercial health insurance to large

group employers in local markets throughout the United States.

               1.     The Sale of Commercial Health Insurance to Large Group Employers Is a
                      Relevant Product Market

       78.     The sale of commercial health insurance to large group employers is a relevant

product market under Section 7 of the Clayton Act.

       79.     Large group employers are a distinct set of customers. As set by state law, large

group consists of employers with more than 50 employees (or, in four states, more than 100

employees). Health insurers that sell to them do not need to follow various regulatory

requirements applicable to small groups, including limitations on factors that can be used in



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determining rates and other licensing and rate-filing requirements. UnitedHealthcare and other

health insurers have dedicated business units focused on selling and marketing to large group

employers. UnitedHealthcare regularly distinguishes large group employers in its business

reviews and strategic plans. UnitedHealthcare charges large group employers different prices and

offers different plan benefits than it does for other types of commercial health insurance

customers.

       80.     The sale of commercial health insurance to large group employers satisfies the

well-accepted “hypothetical monopolist” test set forth in the Horizontal Guidelines. Because

large group employers offer health insurance to attract and retain employees, a hypothetical

monopolist of commercial health insurance sold to large group employers would likely impose a

small but significant and non-transitory price increase without losing sufficient sales to render

that price increase unprofitable. In response to the price increase, few large group employers

would stop buying commercial health insurance for their employees. Similarly, large group

employers are unlikely to build their own provider networks and administer their health plans

themselves. Large group employers cannot avoid a price increase by purchasing commercial

health insurance from other employers.

               2.      The Relevant Geographic Markets for the Sale of Commercial Health
                       Insurance to Large Group Employers

       81.     The relevant geographic markets for the sale of commercial health insurance to

large group employers are the core-based statistical areas (CBSAs) that are metropolitan

statistical areas (MSAs) in the United States. These areas include more than 285 million

people—over 85 percent of all Americans. Each CBSA that is an MSA is a relevant geographic

market for the sale of commercial health insurance to large group employers under Section 7 of

the Clayton Act.



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       82.      When purchasing commercial health insurance, large group employers want

health insurers to offer healthcare provider networks in the areas where their employees live and

work. In each of these CBSAs, large group employers do not view insurance companies that lack

a meaningful provider network in that area as reasonable substitutes for those that offer such a

network.

       83.      Each of these markets satisfies the “hypothetical monopolist test” for the sale of

commercial health insurance to large group employers. In each of these CBSAs, large group

employers are unlikely to move their offices to a different area in response to a small but

significant and non-transitory increase in the price of commercial health insurance.

                            V.      ANTICOMPETITIVE EFFECTS

       84.      The Proposed Transaction would likely substantially lessen competition and harm

consumers in the aforementioned relevant markets in three ways.

            First, by giving United broad access to its health insurer rivals’ competitively

             sensitive information through Change’s first-pass claims editing solution and EDI

             clearinghouse, the Proposed Transaction is likely to substantially lessen competition

             in the markets for the sale of commercial health insurance to national accounts and

             large group employers.

            Second, United’s acquisition of Change’s first-pass claims editing solution and EDI

             clearinghouse would enable United to raise the costs of its health insurance rivals,

             reducing their ability to compete with UnitedHealthcare. This would likely

             substantially lessen competition in the markets for the sale of commercial health

             insurance to national accounts and large group employers. Post-transaction, United

             could raise its health insurance rivals’ costs through means such as denying or




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             delaying their access to innovations that would provide greater efficiency in claims

             processing.

            Third, United and Change are the two most significant competitors in the first-pass

             claims editing solutions market, with a combined market share of at least 75 percent.

             The Proposed Transaction would eliminate head-to-head competition between United

             and Change and tend to create a monopoly in that market. The Proposed Transaction

             is presumptively unlawful under longstanding Supreme Court precedent and the

             Horizontal Guidelines.

As a result, the Proposed Transaction would likely harm millions of Americans by leading to

lower-quality, less innovative, and more costly commercial health insurance.

       A.       The Proposed Transaction Would Likely Substantially Reduce Competition
                in the Relevant Health Insurance Markets by Giving United Access to Its
                Rivals’ Competitively Sensitive Information

       85.      Through its first-pass claims editing solution and EDI clearinghouse, Change has

access to vast quantities of competitively sensitive information from United’s health insurance

rivals. By acquiring Change, United would obtain that competitively sensitive information and

could use it to lessen the competition it would otherwise face absent the Proposed Transaction.

                1.      United Gaining Access to Its Health Insurance Rivals’ Competitively
                        Sensitive Information Through Change’s First-Pass Claims Editing
                        Solution Is Likely to Substantially Lessen Competition in the Sale of
                        Commercial Health Insurance to National Accounts and Large Group
                        Employers

       86.      As the first-pass claims editing vendor of choice for United’s largest health

insurance rivals, Change works with its health insurer-customers to incorporate the insurers’

proprietary edits into the customer’s claims editing solutions. Change’s first-pass claims editing

solution is known to drive the highest savings for health insurers—a figure between three and

eight percent of annual total claim costs. These savings yield cost savings for national accounts


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and large group employers, which often subsidize their employees’ healthcare costs. These

savings also translate into cost savings for employees and their families, who in turn pay lower

health insurance premiums. Thus, the custom edits applied by Change’s ClaimsXten product

affect a plan’s cost structure. An insurer’s custom edits also provide a roadmap to its health plan

and reimbursement policies and its risk allocation methodologies. For these reasons, insurers

view their custom edits as competitively sensitive.

        87.     Custom edits affect competition in the national accounts and large group markets.

National accounts and large group employers evaluate and choose health insurers on their cost-

containment strategies. These strategies are embodied, in part, in the health insurer’s customized

edits. Health insurers can differentiate themselves from rivals by implementing innovative edits

that help their employer-customers combat unnecessary costs and make healthcare more

affordable for employees and their families.

        88.     United currently does not have access to its most significant rivals’ customized

claims edits because these health insurer rivals use Change’s first-pass claims editing solution

rather than United’s offering. Post-transaction, United would have access to its health insurer

rivals’ proprietary edits through ClaimsXten. With this data, UnitedHealthcare would have the

ability to disadvantage its rivals, including by mimicking their innovative policies to make their

rivals’ healthcare plans less attractive to customers (relative to UnitedHealthcare). This would

reduce the rivals’ incentives to innovate in claims edits, which would also reduce innovation in

commercial health insurance plan and provider network design. As a result, United would no

longer independently pursue commercial health insurance innovation as it would have absent this

inside information of its rivals.




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       89.     Innovation competition among health insurers would likely decline, because rival

insurers would know that United could identify and appropriate the innovation through its access

to the innovator’s competitively sensitive edits. This harm to innovation would reduce

competition in the sale of commercial health insurance to national accounts and large group

employers, resulting in less affordable or lower quality plans.

       90.     Because there is no viable alternative to a first-pass claims editing solution, and

with the merged firm having over 75 percent of that market, health insurer rivals would have

little choice but to use the merged firm’s first-pass claims editing solutions and expose their

competitively sensitive information to United. Moreover, switching first-pass claims editing

solutions is a significant undertaking and it would be difficult and risky for United’s insurer

rivals to switch away from ClaimsXten, even if a comparable solution were available.

               2.      United Gaining Access to Rivals’ Competitively Sensitive Information
                       Through Change’s EDI Clearinghouse Is Likely to Substantially Lessen
                       Competition in the Sale of Commercial Health Insurance to National
                       Accounts and Large Group Employers

       91.     The Proposed Transaction would allow United to use much of the data flowing

through Change’s market-leading EDI clearinghouse. United would gain the ability to use its

health insurance rivals’ competitively sensitive information to advantage itself and diminish

competition in the sale of commercial health insurance to national accounts and large group

employers.

       92.     Switching EDI clearinghouses is a significant undertaking for health insurers and

would be difficult and resource intensive.

       93.     Even health insurers that decide not to contract directly with Change could not

escape the consequences of United’s ownership of Change by “going around” Change’s EDI

clearinghouse. This is because health insurers cannot avoid routing many EDI transactions



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through Change’s EDI clearinghouse. Change has over one million connections with providers,

and those providers’ claims will “hop” from Change to the insurer’s EDI clearinghouse even if

the health insurers seek to avoid doing business with Change and its EDI. A health insurer is

unlikely to be able to respond to the Proposed Transaction by inducing all of its in-network

providers to directly connect with the insurer or shift volume away from Change’s EDI

clearinghouse. Finally, even if health insurer rivals could avoid Change going forward, they

could do nothing about the decade’s worth of historic data, representing billions of claims, that

Change has collected as an independent company.

       94.     Today, United has limited access to the competitively sensitive information of its

health insurer rivals that is obtained through EDI clearinghouses. Through ownership of

Change’s EDI pipes, however, United would have access and the right to use the claims data of

health insurer rivals. United could use this competitively sensitive information when making

decisions related to UnitedHealthcare’s plan designs, benefits, provider network designs, and

coverage terms. United already applies artificial intelligence and machine learning capabilities to

its own claims data to, among other things, optimize its claims processing capabilities and

generate administrative and medical cost savings. Post-transaction, United would be able to

apply these artificial intelligence and machine learning capabilities to the claims data of its

insurer rivals, giving itself exclusive competitive intelligence about its rivals, learning both from

the historic and new claims data. At the same time, United would likely deny its health insurer

rivals access to this pool of data, as well as to United’s claims data and any insights gained from

it. It would be difficult and improbable for those rivals to replicate the decade of historical data

or the immense volume of data collected each day from competing insurers.




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       95.     Using the claims data from Change’s EDI clearinghouse, United could also

reverse engineer its insurer rivals’ claims edits, even if it did not also own ClaimsXten. This

access would reveal key insights about health insurer rivals’ health plan policies, including plan

design and reimbursement methodologies. These information asymmetries would distort

competition, leaving health insurer rivals less able to compete for large group and national

accounts customers.

       96.     United would likely also use this EDI information advantage to identify which

national accounts and large group employers are better insurance risks (and thus most profitable).

United could then bid on the most profitable accounts and groups with the benefit of its one-

sided inside look at its competitors’ claims data. United’s asymmetric use of this competitively

sensitive information to selectively bid on the most profitable national accounts and large

employer groups, while avoiding bids on riskier accounts and groups, would create a less-

competitive market for commercial health insurance.

       97.     United’s rival health insurers would perceive United as having the strong

motivation to use the rival insurers’ data obtained through Change, and United would indeed

have that motivation because the profits in the relevant health insurance markets are significantly

larger than the profits for Change’s EDI clearinghouse.

       98.     United’s newfound ability to access rivals’ competitively sensitive information

obtained from Change’s EDI clearinghouse would harm innovation in the national accounts and

large group markets. United would be in a position to identify and poach profitable innovations

in plan design, benefits, provider network design, reimbursement design, and coverage terms

from its competitors without bearing the cost and development risks. Faced with this prospect,




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health insurer rivals would forgo innovation rather than subsidize United in competition against

them.

        B.       The Proposed Transaction Is Likely to Substantially Reduce Competition in
                 the Relevant Health Insurance Markets by Giving United the Ability and
                 Incentive to Raise Its Rivals’ Costs

        99.      Acquiring Change would give United the ability and incentive to raise its health

insurance rivals’ costs. Change’s first-pass claims editing solution and EDI clearinghouse, which

many of United’s rivals use to compete against United, are critical inputs in the provision of

health insurance. Given the great financial reward of obtaining national accounts and large group

customers from its rivals, United would be incentivized to use its control over Change to weaken

its rivals and thereby reduce competition in the relevant health insurance markets.

                 1.     Acquiring Change’s Claims Editing Solution Would Give United the
                        Ability and Incentive to Raise Its Rivals’ Costs

        100.     United’s largest health insurer rivals rely on Change’s ClaimsXten claims editing

solution as a critical input that delivers billions of dollars in medical cost savings. Currently,

Change has the incentive to make its claims editing innovations available to all its insurer-

customers, and without the Proposed Transaction that incentive would continue; ClaimsXten

itself was originally an innovation created by working with one of Change’s insurer-customers.

National accounts and large group employers—and their employee-members—benefit from

these savings through lower premiums, medical expenditures, and copayments. After the

transaction, United could raise its health insurer rivals’ costs by charging higher prices for first-

pass claims editing solutions or by delaying or withholding service, updates, or innovations that

its rivals would have had absent the transaction.

        101.     These concerns are especially acute because United recognizes that insurers have

few options other than Change for first-pass claims editing solutions. Even where an insurer has



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other options, switching to a new vendor is costly, time-consuming, and disruptive. It would take

competitors years to recreate the breadth of Change’s library of edits and develop the necessary

capability to shift a large health insurer to a new platform.

       102.     Because the profits in the relevant health insurance markets are significantly

larger than the profits in the first-pass claims editing market, United would have the incentive to

raise its rivals’ costs to lessen the competition it would otherwise face in the relevant health

insurance markets, even if it meant it lost some first-pass claims editing customers.

       103.     Because United will have the ability and incentive to increase its health insurer

rivals’ costs, the Proposed Transaction is likely to substantially lessen competition in the sale of

commercial health insurance to national accounts and large group employers.

                2.     Acquiring Change’s EDI Clearinghouse Would Give United the Ability
                       and Incentive to Raise Its Rivals’ Costs

       104.     As an independent company, Change is incentivized to pursue EDI clearinghouse

innovations that benefit all health insurers using its product. As Change noted, “being neutral

allows us to work on use cases that benefit the entire healthcare system.” Absent the transaction,

an independent Change would be well positioned, including through Change’s existing provider

relationships, to pursue certain innovations. Post-transaction, however, United would have the

incentive to weaken its health insurer rivals by withholding or delaying their access to such

innovations. This would render the insurer rivals less-effective competitors, thereby harming

competition in the relevant health insurance markets.

       105.     United could use its control of Change’s EDI clearinghouse as additional leverage

in dealing with UnitedHealthcare’s rivals by threatening to suspend service to those rivals—by

“dropping them to paper” and sending those claims via paper rather than through the EDI

clearinghouse—unless they concede to United’s demands. “Dropping to paper” would have dire



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consequence for insurers’ competitiveness given the costs, time, and loss of accuracy associated

with processing claims without an EDI clearinghouse. This also would lead to provider and

member frustration with the insurers, resulting in reputational harm to the insurers. Post-

transaction, United would have the incentive and ability to exploit its rivals’ fear of this threat to

soften the competition UnitedHealthcare faces in its national accounts and large group

businesses. The threat of being dropped to paper would give United significant leverage when

negotiating contractual provisions, including provisions for claims data rights.

       106.     The merged firm would have substantial incentive to use Change’s EDI

clearinghouse to raise health insurer rivals’ costs. The profits obtained by UnitedHealthcare from

gaining national accounts and large group employers from its rivals would be greater than the

loss of profits from withholding EDI innovations or from losing customers that decline to

purchase EDI clearinghouse services from the merged firm.

       107.     The Proposed Transaction would degrade the health insurance choices available

to employers. National accounts and large group customers would have to either: (1) choose a

UnitedHealthcare rival and suffer reduced levels of service due to lower-quality EDI

clearinghouse service, or (2) choose UnitedHealthcare as their insurer and likely pay higher

prices for poorer quality than would have been the case in a market with a competitive,

independent Change. Either way, national accounts and large group employers—and their

enrollees—would be worse off without an independent Change; innovation would be reduced

and competition among health insurers would be lessened.




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       C.       The Proposed Transaction Would Likely Substantially Lessen Competition
                and Tend to Create a Monopoly in First-Pass Claims Editing Solutions

       108.     United’s acquisition of Change would eliminate important competition between

them for the sale of first-pass claims editing solutions, resulting in health insurer-customers

facing higher prices, lower quality, and reduced access to claims-editing innovations.

                1.     The Proposed Transaction Is a Presumptively Illegal Combination of the
                       Two Leading First-Pass Claims Editing Solutions

       109.     The Supreme Court has held that mergers that significantly increase concentration

in already concentrated markets are presumptively anticompetitive and, therefore, presumptively

unlawful. Courts often use the Herfindahl-Hirschman Index (HHI), as described in the

Horizontal Guidelines, to measure market concentration. HHIs range from 0, in markets with no

concentration, to 10,000, in markets where one firm has 100 percent market share. According to

the Horizontal Guidelines, mergers that both increase the HHI for a given market by more than

200 and result in an HHI above 2,500 are presumed to be anticompetitive.

       110.     Change and United are the largest and second largest vendors of first-pass claims

editing solutions, with a combined market share of at least 75 percent. The Proposed Transaction

would increase the HHI by at least 2,000 points and result in a post-merger HHI of at least 6,400,

making the transaction presumptively anticompetitive.

                2.     The Proposed Transaction Would Eliminate Head-to-Head Competition
                       Between United and Change in the Sale of First-Pass Claims Editing
                       Solutions

       111.     United and Change compete vigorously against each other in the market for first-

pass claims editing solutions. Three months before the transaction was announced, United

executives described Change as the “#1 competitor for first pass” claims editing, and noted that

United was “[s]econd behind Change for primary editing.”




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        112.      United and Change often compete head-to-head to win customers’ contracts. This

competition has resulted in lower prices to insurers for first-pass claims editing solutions. For

example, United regularly approves 20-25 percent discounts for customers when competing with

Change. In a 2019 bid, United gave an insurer a “sweetheart deal to win them away” from

Change. Similarly, Change executives and sales representatives have recommended and

approved discounts as high as 30 percent in response to price pressure from United. Due to the

“U-Factor,” United’s customers generally consist of small and mid-size insurers, but even

United’s largest health insurance competitors will get quotes from OptumInsight in an attempt to

gain a competitive discount from Change.

        113.      Health insurers rely on the competition between United and Change to secure

reduced pricing, better contract terms, and higher-quality and innovative products. If allowed to

proceed, the Proposed Transaction would eliminate this intense competition for first-pass claims

editing solutions, leading to higher prices and reduced quality and innovation.

                        VI.     THE MERGER SHOULD BE ENJOINED

        114.      In each of the relevant markets, the Proposed Transaction is likely to substantially

lessen competition, resulting in lower quality, less innovation, or higher prices.

        115.      A substantial lessening of competition in any relevant market is a violation of

Section 7 of the Clayton Act and is sufficient for the Court to enjoin the Proposed Transaction in

its entirety.

                     VII.     ABSENCE OF COUNTERVAILING FACTORS

        116.      The Proposed Transaction is unlikely to generate verifiable, merger-specific

efficiencies in the relevant markets sufficient to prevent or outweigh the significant

anticompetitive effects that are likely to occur.




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       117.     New entry or expansion by existing first-pass claims editing solutions is unlikely

to prevent or remedy the transaction’s likely anticompetitive effects in the relevant markets.

There are high barriers to entry, such as technical capabilities, the resources needed to develop

and maintain edit libraries, and experience with sophisticated health insurers. Customers also

face high switching costs when choosing a new first-pass claims editing solution.

       118.     New entry or expansion by existing EDI clearinghouses is also unlikely to prevent

or remedy the transaction’s likely anticompetitive effects in the relevant markets. There are high

barriers to entry, such as technical capabilities and the resources needed to establish relationships

with providers and insurers and develop a deep repository of claims data. Moreover, because

United’s rivals cannot disintermediate Change’s EDI clearinghouse, entry or expansion would

not ameliorate the competitive harm.

       119.     Restoring competition is the key to any effective antitrust remedy. The only

acceptable remedy for an anticompetitive merger is one that completely resolves all of the

competitive problems created by the merger. Defendants bear the burden of showing that any

remedy they propose meets these standards. United has proposed divesting Change’s ClaimsXten

business in an attempt to remedy the anticompetitive effects of this merger. Change has had

some discussions with potential buyers, but has not entered into a purchase agreement.

Defendants have not proposed any remedy that would preserve competition and prevent the

anticompetitive effects of this merger.

       120.     Efforts to cordon off a health insurance rival’s competitively sensitive information

obtained from Change’s EDI clearinghouse and first-pass claims editing solutions through

information firewalls would be insufficient to protect against the risk of United accessing and

using this information. This is especially true given (1) United’s longstanding interest in




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acquiring this competitively sensitive data; (2) the frequent movement of employees, including

senior executives, between Optum and United subsidiaries who would be in a position to gain

insights into United’s health insurance rivals while working for Optum and bring those insights

to any future work for UnitedHealthcare; and (3) the regular enterprise-wide planning that

United conducts, which involves its business unit executives from United, Optum, and

UnitedHealthcare.

                    VIII. JURISDICTION, VENUE, AND COMMERCE

       121.     Plaintiff United States brings this action pursuant to Section 15 of the Clayton

Act, 15 U.S.C. § 25, to prevent and restrain Defendants from violating Section 7 of the Clayton

Act, 15 U.S.C. § 18.

       122.     Plaintiffs Minnesota and New York, by and through their respective Attorneys

General, bring this action in their respective sovereign capacities and as parens patriae on behalf

of the citizens, general welfare, and economy of their respective States under their statutory,

equitable, or common law powers, and pursuant to Section 16 of the Clayton Act, 15 U.S.C. §

26, to prevent and restrain Defendants from violating Section 7 of the Clayton Act, 15 U.S.C. §

18.

       123.     Defendants are both engaged in, and their activities substantially affect, interstate

commerce. United sells health insurance and healthcare technology to customers across the

United States and owns healthcare practices in many states. Change sells critical healthcare

technology to health insurers, healthcare providers, and other customers across the United States.

Defendants’ sales have a substantial effect on interstate commerce. The Court therefore has

subject-matter jurisdiction over this action under Section 15 of the Clayton Act, 15 U.S.C. § 25,

and 28 U.S.C. §§ 1331, 1337(a), and 1345.




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       124.     The Court has personal jurisdiction over each Defendant. Defendants transact

business within this District and have agreed not to contest personal jurisdiction in this District.

       125.     Venue is proper in this district under Section 12 of the Clayton Act, 15 U.S.C. §

22, and under 28 U.S.C. § 1391.

                               IX.     VIOLATIONS ALLEGED

       126.     Plaintiffs incorporate the allegations of paragraphs 1 through 125 above.

       127.     Unless enjoined, United’s proposed acquisition of Change is likely to

substantially lessen competition, and tend to create a monopoly, in interstate trade and commerce

in the relevant markets in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18.

       128.     The acquisition would likely have the following anticompetitive effects, among

others, in the relevant markets:

                 i.    United would gain the ability and incentive to obtain and use its rivals’

                       competitively sensitive information, harming the competitive process in

                       the sale of commercial health insurance to national accounts and large

                       group employers;

                ii.    United would gain the ability and incentive to raise its rivals’ costs,

                       harming the competitive process in the sale of commercial health

                       insurance to national accounts and large group employers;

               iii.    competition between United and Change in the sale of first-pass claims

                       editing solutions would be eliminated prices of first-pass claims editing

                       solutions would likely increase to levels above what would prevail absent

                       the transaction, and the quality of first-pass claims editing solutions would




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                likely be reduced compared to what would prevail absent the transaction;

                and

        iv.     competition and innovation in the relevant markets would be reduced

                generally.

                         X.      REQUEST FOR RELIEF

129.     The Plaintiffs request that the Court:

         a.     adjudge and decree United’s acquisition of Change to violate Section 7 of

                the Clayton Act, 15 U.S.C. § 18;

         b.     permanently enjoin Defendants from consummating United’s proposed

                acquisition of Change or from entering into or carrying out any other

                agreement, understanding, or plan by which Change would be acquired

                by, acquire, or merge with United;

         c.     award each Plaintiff an amount equal to its costs incurred in bringing this

                action on behalf of its citizens; and

         d.     grant Plaintiffs such other relief as the Court deems just and proper.




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Dated: February 24, 2022

Respectfully Submitted,


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